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FILED IN OPEN COURT
U.S.D.C. Atlanta

UNITED STATES DISTRICT COURT MAY Z5 2021
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION nse en i
By Deputy Clerk
UNITED STATES OF AMERICA,
Plaintiff,
vs. CASE NO.

1:21-MJ-533-AJB
DAVID PANBEHCHI

Defendant.

ORDER APPOINTING COUNSEL

BYRON CONWAY
The above-named defendant has testified under oath or has filed with the Court
an affidavit of financial status and hereby satisfied this Court that he or she is financially
unable to employ counsel.
Accordingly, the FEDERAL DEFENDER PROGRAM, INC., is hereby appointed
to represent this defendant in the above-captioned case unless relieved by an Order of
this Court or by Order of the Court of Appeals.

Dated at Atlanta, Georgia this 25th day May, 2021.

 

 

ALAN J. BAVERMAN
UNITED STATES MAGISTRATE JUDGE

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